                Case 2:11-cr-00166-MCE Document 185 Filed 12/18/13 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     HUANCHANG MA
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                        )       No. CR-S-11-166 MCE
                                                      )
                                                      )
10             Plaintiff,                             )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       ORDER
12
     HUANCHANG MA,                                    )
                                                      )       Date: February 6, 2014
13
                                                      )       Time: 9:00 a.m.
               Defendant.                             )       Judge: Honorable Morrison C. England, Jr.
14
                                                      )
                                                      )
15
                                                      )
16
               The United States of America through its undersigned counsel, Christiaan Highsmith,
17
     Assistant United States Attorney, together with counsel for defendant Huanchang Ma, John R.
18

19   Manning, Esq., hereby stipulate the following:

20        1. By previous order, this matter was set for status conference on December 12, 2013.
21
          2. By this stipulation, defendant now moves to continue status conference until February 6,
22
     2014 and to exclude time between December 12, 2013 and February 6, 2014 under the Local
23

24
     Code T-4 (to allow defense counsel time to prepare).

25        3.   The parties agree and stipulate, and request the Court find the following:
26
               a. This case is one in a series of cases developed from a lengthy DEA/Elk Grove
27
                   PD/Sac. SO investigation into “grow houses” in the Elk Grove area. Several
28




                                                          1
      Case 2:11-cr-00166-MCE Document 185 Filed 12/18/13 Page 2 of 3


        individuals have been charged. Many, if not all the defendants a part of this
 1

 2      investigation are non English speakers and require the services of an interpreter to

 3      communicated with. The widespread need for Cantonese/Mandarin interpreters in
 4
        this case, the companion cases(s), and in general, has made scheduling meetings very
 5
        difficult. However, as this case is winding up, scheduling has become less difficult.
 6

 7
        To that end, the Defense has provided the Government with additional discovery and

 8      the Government needs to time to review the material and evaluate their next step.
 9   b. The Defense has proffered a proposed resolution to the Government and the
10
        Government needs additional time to review the settlement proposal. Additional
11
        meetings between counsel for Mr. Ma and the Government are necessary to discuss
12

13      the proposed resolution.

14   c. Mr. Ma lives in San Francisco area and speaks only Mandarin. Once the government
15
        has evaluated the information provided be the defense, the defense will need
16
        additional time to review the government’s response and the anticipated plea
17
        agreement.
18

19   d. The Government does not object to the continuance.

20   e. Based on the above-stated findings, the ends of justice served by granting the
21
        requested continuance outweigh the best interests of the public and the defendant in a
22
        speedy trial within the original date prescribed by the Speedy Trial Act.
23

24
     f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

25      Section 3161(h)(7)(A) within which trial must commence, the time period of
26      December 12, 2013 to February 6, 2014, inclusive, is deemed excludable pursuant to
27
        18 United States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local
28




                                             2
              Case 2:11-cr-00166-MCE Document 185 Filed 12/18/13 Page 3 of 3


                Code T-4 because it results from a continuance granted by the Court at defendant’s
 1

 2              request on the basis of the Court’s finding that the ends of justice served by taking

 3              such action outweigh the best interest of the public and the defendant in a speedy
 4
                trial.
 5
       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 6

 7
            Speedy Trial Act dictate that additional time periods are excludable from the period within

 8          which a trial must commence.
 9
     IT IS SO STIPULATED.
10

11
     Dated: December 9, 2013                                       /s/ John R. Manning
12                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
13
                                                                  Huanchang Ma
14

15   Dated: December 9, 2013                                      Benjamin B. Wagner
                                                                  United States Attorney
16

17                                                                by:/s/ Christiaan Highsmith
                                                                  CHRISTIAAN HIGHSMITH
18                                                                Assistant U.S. Attorney
19                                                ORDER
            IT IS SO ORDERED.
20

21
     Dated: December 12, 2013
22

23

24

25

26

27

28




                                                      3
